            Case 1:22-cv-07702-ER Document 11 Filed 01/12/23 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

VALERIE DICKS, Individually, and On Be-
half of All Others Similarly Situated,

                                Plaintiff,                             ORDER

                    - against -                                    22-cv-7702 (ER)

MARKS JEWELERS, INC.,

                                Defendant.


Ramos, D.J.:

         The Court having been advised that all claims asserted herein have been settled, see Doc.

10, it is ORDERED, that the above-entitled action be and hereby is discontinued, without costs

to either party, subject to reopening should the settlement not be consummated within forty-five

(45) days of the date hereof.

         Any application to reopen must be filed within forty-five (45) days of this Order; any

application to reopen filed thereafter may be denied solely on that basis. Further, the parties are

advised that if they wish the Court to retain jurisdiction in this matter for purposes of enforcing

any settlement agreement, they must submit the settlement agreement to the Court within the

next forty-five (45) days with a request that the agreement be “so ordered” by the Court.

         The Clerk of Court is further respectfully directed to terminate Doc. 15.

         It is SO ORDERED.

Dated:    January 12, 2023
          New York, New York
                                                                    Edgardo Ramos, U.S.D.J.
